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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Kiesque, Incorporated                         )
                                              )
v.                                            )       Case No. 18-cv-7761
                                              )
THE PARTNERSHIPS and                          )       Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A”                    )       Magistrate: Hon. Mary M. Rowland
                                              )
                                              )

                                       Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Kiesque Incorporated, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe    Store Name                  Mercahnt ID          URL
 3      binyuanexport               binyuanexport        993647187@qq.com
 13     qudienail                   qudienail            info@binnails.com
 25     All Buy Store               1770106              https://www.aliexpress.com/store/1770106
 36     Be Your Own Diana Store     2656034              https://www.aliexpress.com/store/2656034
 43     Beautiful YYP Store         2983021              https://www.aliexpress.com/store/2983021
        Beautify the Features
 45     Store                       1384042              https://www.aliexpress.com/store/1384042
 50     Been With You Store         3364013              https://www.aliexpress.com/store/3364013
 58     Cattie Girl Store           2952025              https://www.aliexpress.com/store/2952025
 61     Confident Women Store       2944216              https://www.aliexpress.com/store/2944216
 88     Healthy-Sk Store            3996011              https://www.aliexpress.com/store/3996011
 100    JNI Beautiful Store         3417008              https://www.aliexpress.com/store/3417008
 111    Love Beauty01 Store         2342098              https://www.aliexpress.com/store/2342098
 147    Poai Lgian Bebo Store       2337276              https://www.aliexpress.com/store/2337276
 149    Posh_Makeup 520 Store       2781105              tina@htb2c.com
 153    Puzzleeeee Store            3684090              https://www.aliexpress.com/store/3684090
        Shenzhen ChenMei TEC.
 160    Co.,Ltd. store              1983721              https://www.aliexpress.com/store/1983721
 178    Sweety Girl Store           3255082              https://www.aliexpress.com/store/3255082
 206    YOVIP VIP Store             3654014              https://www.aliexpress.com/store/3654014
 224    Ali-Lillian HB Store        1096648              https://www.aliexpress.com/store/1096648
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                                  567a3fd35749034
393   asyouwant                   89c238e3d          zhouxiao@channy.com.cn
                                  54d2e34f7f3c1612   https://www.wish.com/merchant/54d2
406   bigbiggirlwish              0e8c0277           e34f7f3c16120e8c0277
                                  58255f0c6a4a7b1    https://www.wish.com/merchant/5825
412   brianaeyoubag               cd983d8b6          5f0c6a4a7b1cd983d8b6
                                  567bcaeed8a1043    https://www.wish.com/merchant/567b
423   codosale                    c0ab6b2aa          caeed8a1043c0ab6b2aa
                                  58661963105c8c6    https://www.wish.com/merchant/5866
428   cubpapa                     a058064a5          1963105c8c6a058064a5
                                  5975c109905fdb0
443   ehotmall                    b29eec3d7       lawrenskjlg@outlook.com
                                  5835568979d2a92 https://www.wish.com/merchant/5835
444   essonne                     4ac089182       568979d2a924ac089182
      guangzhouqiannitradecolt    547be84d90c7762 https://www.wish.com/merchant/547b
460   d                           2b3a51441       e84d90c77622b3a51441
                                  5b28edac7752c87 https://www.wish.com/merchant/5b28
468   hjvpzdte                    24cc77de3       edac7752c8724cc77de3
                                  5812d9f3bcbe9e1 https://www.wish.com/merchant/5812
469   homeofjerry                 97eaacc0e       d9f3bcbe9e197eaacc0e
                                  575e24834e0dbb5
474   iomaxmall                   caccc541f          iomaxmall@163.com
                                  583bde3b176d5c1    https://www.wish.com/merchant/583b
499   little18                    b8aa3a702          de3b176d5c1b8aa3a702
                                  596865d26d138f2    https://www.wish.com/merchant/5968
513   maoping                     014e8c794          65d26d138f2014e8c794
                                  5b27ea327752c81    https://www.wish.com/merchant/5b27
515   masadaus                    fecafa2b1          ea327752c81fecafa2b1
                                  570e03638e8ba95    https://www.wish.com/merchant/570e
521   monstars                    8de20b8ad          03638e8ba958de20b8ad
                                  582eab0a41219a1    https://www.wish.com/merchant/582e
533   opsanji                     c6f33538e          ab0a41219a1c6f33538e
                                  57c6c62018a9eb6    https://www.wish.com/merchant/57c6c
536   pimenova                    516f2abc5          62018a9eb6516f2abc5
      shanghaicifanginformation   53e1e9314497c51    https://www.wish.com/merchant/53e1
547   technologycoltd             3f82a7c4d          e9314497c513f82a7c4d
                                  581464a4011ff619   https://www.wish.com/merchant/5814
565   summerdayone                6ec1ffe6           64a4011ff6196ec1ffe6
                                  57a2a6d823201d1    https://www.wish.com/merchant/57a2
570   taotaobao                   8a3ee2488          a6d823201d18a3ee2488
                                  574911d55279545    https://www.wish.com/merchant/5749
572   todream                     cb724e484          11d55279545cb724e484
                                  5937c5cb7feb495    https://www.wish.com/merchant/5937
592   xiaoyanstore                490ae3d2f          c5cb7feb495490ae3d2f



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                                  566147a78e48c72     https://www.wish.com/merchant/5661
 608    匹凸匹贸易有限公司                 3ff7227c8           47a78e48c723ff7227c8
 456
 (626   guangzhouchannytradecol   53a2a09ad911395     https://www.wish.com/merchant/53a2
 )      td                        19161a267           a09ad91139519161a267

Dated: March 7, 2019
                                          Respectfully submitted,


                                          By:        s/David Gulbransen/
                                                    David Gulbransen
                                                    Attorney of Record

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